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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK


 THERESA PITMAN, Individually and On                 Case No.
 Behalf of All Others Similarly Situated,

                                   Plaintiff,        CLASS ACTION COMPLAINT

                        v.
                                                     JURY TRIAL DEMANDED
 IMMUNOVANT, INC. f/k/a HEALTH
 SCIENCES ACQUISITIONS
 CORPORATION, PETER SALZMANN,
 PAMELA YANCHIK CONNEALY, and
 RODERICK WONG,

                                   Defendants.


       Plaintiff Theresa Pitman (“Plaintiff”), individually and on behalf of all others similarly

situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s complaint against Defendants, alleges

the following based upon personal knowledge as to Plaintiff and Plaintiff’s own acts, and

information and belief as to all other matters, based upon, inter alia, the investigation conducted

by and through Plaintiff’s attorneys, which included, among other things, a review of the

Defendants’ public documents, conference calls and announcements made by Defendants, United

States (“U.S.”) Securities and Exchange Commission (“SEC”) filings, wire and press releases

published by and regarding Immunovant, Inc. f/k/a Health Sciences Acquisitions Corporation

(“HSAC”, “Immunovant”, or the “Company”), analysts’ reports and advisories about the

Company, and information readily obtainable on the Internet. Plaintiff believes that substantial

additional evidentiary support will exist for the allegations set forth herein after a reasonable

opportunity for discovery.




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                                  NATURE OF THE ACTION

       1.      This is a federal securities class action on behalf of a class consisting of all persons

and entities other than Defendants that purchased or otherwise acquired Immunovant securities

between October 2, 2019 and February 1, 2021, both dates inclusive (the “Class Period”), seeking

to recover damages caused by Defendants’ violations of the federal securities laws and to pursue

remedies under Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange

Act”) and Rule 10b-5 promulgated thereunder, against the Company and certain of its top officials.

       2.      Immunovant is a clinical-stage biopharmaceutical company that develops

monoclonal antibodies for the treatment of autoimmune diseases. The Company is developing

IMVT-1401, a novel fully human monoclonal antibody, which is in Phase IIa clinical trials for the

treatment of myasthenia gravis (“MG”) and thyroid eye disease (“TED”), also known as Graves’

ophthalmopathy. The Company has also completed initiation of Phase II clinical trials of IMVT-

1401 for the treatment of warm autoimmune hemolytic anemia (“WAIHA”).

       3.      On September 29, 2019, HSAC, then a blank check company,1 also known as a

special purpose acquisition company (“SPAC”), entered into an agreement with Immunovant

Sciences Ltd. (“Legacy Immunovant”), a private biopharmaceutical company, and shareholders of

Legacy Immunovant, to effect a merger between the two entities (the “Merger”). As a result of

the Merger, HSAC acquired all of the issued and outstanding shares of Legacy Immunovant, and

Legacy Immunovant became a wholly owned subsidiary of HSAC. Upon the closing of the

Merger, HSAC changed its name to “Immunovant, Inc.”




1
 A blank check company is a development stage company that has no specific business plan or
purpose or has indicated its business plan is to engage in a merger or acquisition with an
unidentified company or companies, other entity, or person.


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       4.      Throughout the Class Period, Defendants made materially false and misleading

statements regarding the Company’s business, operations, and compliance policies. Specifically,

Defendants made false and/or misleading statements and/or failed to disclose that: (i) HSAC had

performed inadequate due diligence into Legacy Immunovant prior to the Merger, and/or ignored

or failed to disclose safety issues associated with IMVT-1401; (ii) IMVT-1401 was less safe than

the Company had led investors to believe, particularly with respect to treating TED and WAIHA;

(iii) the foregoing foreseeably diminished IMVT-1401’s prospects for regulatory approval,

commercial viability, and profitability; and (iv) as a result, the Company’s public statements were

materially false and misleading at all relevant times.

       5.      On February 2, 2021, Immunovant issued a press release “announc[ing] a voluntary

pause of dosing in its ongoing clinical trials for IMVT-1401.” Immunovant disclosed that it “has

become aware of a physiological signal consisting of elevated total cholesterol and LDL [low-

density lipoproteins] levels in IMVT-1401-treated patients” and “[o]ut of an abundance of caution,

the Company has decided to voluntarily pause dosing in ongoing clinical studies in both TED and

in [WAIHA], in order to inform patients, investigators, and regulators as well as to modify the

monitoring program.”

       6.      On this news, Immunovant’s stock price fell $18.22 per share, or 42.08%, to close

at $25.08 per share on February 2, 2021.

       7.      As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Company’s securities, Plaintiff and other Class members have suffered

significant losses and damages.




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                                  JURISDICTION AND VENUE

        8.      The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of

the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the

SEC (17 C.F.R. § 240.10b-5).

        9.      This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331 and Section 27 of the Exchange Act.

        10.     Venue is proper in this Judicial District pursuant to Section 27 of the Exchange Act

(15 U.S.C. § 78aa) and 28 U.S.C. § 1391(b), as the alleged misstatements entered and the

subsequent damages took place in this Judicial District. Pursuant to Immunovant’s most recent

annual report on Form 10-K, as of June 29, 2020, there were 81,811,727 shares of the Company’s

common stock outstanding. Immunovant’s common stock trades on the Nasdaq Stock Market

(“NASDAQ”). Accordingly, there are presumably hundreds, if not thousands, of investors in

Immunovant’s common stock located within the U.S., some of whom undoubtedly reside in this

Judicial District.

        11.     In connection with the acts alleged in this complaint, Defendants, directly or

indirectly, used the means and instrumentalities of interstate commerce, including, but not limited

to, the mails, interstate telephone communications, and the facilities of the national securities

markets.

                                             PARTIES

        12.     Plaintiff, as set forth in the attached Certification, acquired Immunovant securities

at artificially inflated prices during the Class Period and was damaged upon the revelation of the

alleged corrective disclosures.




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       13.     Defendant Immunovant is a Delaware corporation with principal executive offices

located at 320 West 37th Street, New York, New York 10018. The Company’s common stock

trades in an efficient market on the NASDAQ under the ticker symbol “IMVT.” Prior to the

Merger, the Company (i.e., HSAC) was a Delaware corporation with principal executive offices

located at 412 West 15th Street, Floor 9, New York, New York 10011, and its securities traded on

the NASDAQ under the ticker symbols “HSACU,” “HSAC,” and “HSACW.”

       14.     Defendant Peter Salzmann, M.D. (“Salzmann”) has served as the Company’s Chief

Executive Officer (“CEO”) at all relevant times following the Merger.

       15.     Defendant Pamela Yanchik Connealy (“Connealy”) has served as the Company’s

Chief Financial Officer at all relevant times following the Merger.

       16.     Defendant Roderick Wong, M.D. (“Wong”) served as the Company’s President and

CEO at all relevant times prior to the Merger.

       17.     Defendants Salzmann, Connealy, and Wong are sometimes referred to herein as the

“Individual Defendants.”

       18.     The Individual Defendants possessed the power and authority to control the

contents of Immunovant’s SEC filings, press releases, and other market communications. The

Individual Defendants were provided with copies of Immunovant’s SEC filings and press releases

alleged herein to be misleading prior to or shortly after their issuance and had the ability and

opportunity to prevent their issuance or to cause them to be corrected. Because of their positions

with Immunovant, and their access to material information available to them but not to the public,

the Individual Defendants knew that the adverse facts specified herein had not been disclosed to

and were being concealed from the public, and that the positive representations being made were




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then materially false and misleading. The Individual Defendants are liable for the false statements

and omissions pleaded herein.

       19.      Immunovant and the Individual Defendants are collectively referred to herein as

“Defendants.”

                                SUBSTANTIVE ALLEGATIONS

                                          Background

       20.      Immunovant is a clinical-stage biopharmaceutical company that develops

monoclonal antibodies for the treatment of autoimmune diseases. The Company is developing

IMVT-1401, a novel fully human monoclonal antibody, which is in Phase IIa clinical trials for the

treatment of MG and TED, also known as Graves’ ophthalmopathy. The Company has also

completed initiation of Phase II clinical trials of IMVT-1401 for the treatment of WAIHA.

       21.      On September 29, 2019, HSAC, then a blank check company, or SPAC, entered

into an agreement with Legacy Immunovant, a private biopharmaceutical company, and

shareholders of Legacy Immunovant, to effect a merger between the two entities. As a result of

the Merger, HSAC acquired all of the issued and outstanding shares of Legacy Immunovant, and

Legacy Immunovant became a wholly owned subsidiary of HSAC. Upon the closing of the

Merger, HSAC changed its name to “Immunovant, Inc.”

        Materially False and Misleading Statements Issued During the Class Period

       22.      The Class Period begins on October 2, 2019, when HSAC and Legacy Immunovant

issued a press release announcing the Merger (the “October 2019 Press Release”). That press

release touted the prospects of IMVT-1401, stating, in relevant part, that IMVT-1401 “is the result

of a multi-year research program . . . to engineer a highly potent anti-FcRn antibody specifically

optimized for subcutaneous injection with a small gauge needle”; that “IMVT-1401 is currently




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being tested in a Phase 2a trial for Graves’ ophthalmopathy (potentially a first-in-class anti-FcRn),

with top-line data expected by Q1 2020”; and that “[Legacy] Immunovant also plans to file an

IND [investigational new drug application] for . . . [WAIHA], later this year.”

       23.     The October 2019 Press Release also quoted Defendant Wong, who touted the

Merger and IMVT-1401’s commercial prospects, stating, in relevant part, that HSAC is “thrilled

to have the opportunity to partner with the team at [Legacy] Immunovant” and “believe[s] IMVT-

1401 is a uniquely compelling asset within the FcRn drug class, which [HSAC] expect[s] will

become a cornerstone therapy for treating many auto-antibody driven diseases.”

       24.     Additionally, the October 2019 Press Release quoted Defendant Salzmann, who

likewise highlighted the purported commercial prospects of both the Merger and IMVT-1401,

stating, in relevant part, that he was “proud of the many milestones delivered by the [Legacy]

Immunovant team this year, including . . . initiation of a broad Phase 2 program with both first-in-

class and best-in-class potential in multiple diseases with high unmet patient need”; that

Defendants “believe the potency of IMVT-1401 and the ability to administer IMVT-1401 as a

simple subcutaneous injection represent important potentially differentiating features of this

product candidate”; and that “[t]oday’s financing transaction will allow [Defendants] to continue

to pursue [their] vision of enabling normal lives for patients with autoimmune diseases.”

       25.     On March 30, 2020, post-Merger, Immunovant issued a press release announcing

initial results from the treatment phase of its ongoing the ASCEND GO-1 trial—a Phase 2a study

of IMVT-1401 in patients with TED (the “March 2020 Press Release”). That press release made

positive statements regarding IMVT-1401’s safety observed in the ASCEND GO-1 trial, stating,

in relevant part, that “IMVT-1401 was safe and generally well-tolerated with no serious adverse

events (SAEs), no withdrawals due to adverse events (AEs), and no headaches”; that “[t]he safety




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and tolerability profile observed was consistent with the prior Phase 1 trial of IMVT-1401 in 99

healthy volunteers”; and that “[a]ll AEs were mild or moderate.”

        26.     The March 2020 Press Release also quoted Defendant Salzmann, who represented,

in relevant part, that the ASCEND GO-1 trial’s “results provide an early proof-of-concept of the

potential for IMVT-1401 to ultimately become a safe and effective treatment for patients suffering

from [TED].”

        27.     Additionally, the March 2020 Press Release quoted the ASCEND GO-1 trial’s

principal investigator, who likewise touted IMVT-1401’s safety profile, stating, in relevant part,

that he was “encouraged by IMVT-1401’s early results showing promising efficacy and safety

with a subcutaneous route of administration,” and that “[e]ven in this small study population, the

response across multiple measures is notable.”

        28.     On June 29, 2020, Immunovant issued a press release reporting the Company’s

financial and operating results for the quarter and year ended March 31, 2020. That press release

reiterated IMVT-1401’s safety results highlighted in the March 2020 Press Release, as well as

additional data, all of which purportedly supported the overall safety and tolerability of IMVT-

1401. Specifically, that press release stated, in relevant part, that the “positive clinical results from

ASCEND GO-1 . . . reaffirmed IMVT-1401’s prior safety and pharmacodynamic findings . . . for

patients with TED,” while noting “two recent successful studies for other drug candidates with the

same mechanism of action” that “[c]omplement[ed] these findings.”

        29.     Also on June 29, 2020, Immunovant filed an annual report on Form 10-K with the

SEC, reporting the Company’s financial and operating results for the quarter and year ended March

31, 2020 (the “2020 10-K”). The 2020 10-K also reiterated IMVT-1401’s safety observed in the




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ASCEND GO-1 trial, stating, in relevant part, that “[t]he safety and tolerability profile observed

was consistent with the prior Phase 1 trial of IMVT-1401 in 99 healthy volunteers.”

       30.     Appended as exhibits to the 2020 10-K were signed certifications pursuant to the

Sarbanes-Oxley Act of 2002, wherein Defendants Salzmann and Connealy certified that the 2020

10-K “fully complies with the requirements of Section 13(a) or Section 15(d) of the Exchange

Act” and that “[t]he information contained in the [2020 10-K] fairly presents, in all material

respects, the financial condition and results of operations of the Company.”

       31.     The statements referenced in ¶¶ 22-30 were materially false and misleading because

Defendants made false and/or misleading statements, as well as failed to disclose material adverse

facts about the Company’s business, operations, and compliance policies.              Specifically,

Defendants made false and/or misleading statements and/or failed to disclose that: (i) HSAC had

performed inadequate due diligence into Legacy Immunovant prior to the Merger, and/or ignored

or failed to disclose safety issues with IMVT-1401; (ii) IMVT-1401 was less safe than the

Company had led investors to believe, particularly with respect to treating TED and WAIHA; (iii)

the foregoing foreseeably diminished IMVT-1401’s prospects for regulatory approval, commercial

viability, and profitability; and (iv) as a result, the Company’s public statements were materially

false and misleading at all relevant times.

                                       The Truth Emerges

       32.     On February 2, 2021, Immunovant issued a press release “announc[ing] a voluntary

pause of dosing in its ongoing clinical trials for IMVT-1401.” Specifically, that press release

disclosed, in relevant part:

       The Company has become aware of a physiological signal consisting of elevated
       total cholesterol and LDL levels in IMVT-1401-treated patients in ASCEND GO-
       2, a Phase 2b trial in [TED]. Cholesterol levels were not measured in prior clinical
       trials of IMVT-1401 in [MG] and in healthy subjects. Out of an abundance of



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        caution, the Company has decided to voluntarily pause dosing in ongoing clinical
        studies in both TED and in [WAIHA], in order to inform patients, investigators,
        and regulators as well as to modify the monitoring program.

        ASCEND GO-2 is a randomized, placebo-controlled trial in TED evaluating
        different doses, each given weekly for 12 weeks. In this study, cholesterol
        parameters are assessed at baseline, at twelve weeks, and at week 20 following
        eight weeks off drug. Based on preliminary, unblinded data from about 40 patients
        through week 12, mean LDL cholesterol at week 12 was increased by
        approximately 65% in the 680mg dose group, by approximately 40% in the 340mg
        dose group, and did not increase in the control group. Average HDL and
        triglyceride levels increased to a much lesser degree. For context, commercially
        available statins report a reduction in LDL cholesterol between 27-60%. At the
        twenty-week timepoint, average LDL levels had declined to baseline or lower in
        the 680mg dose group, in the 340mg dose group, and in the control group.

        33.     On this news, Immunovant’s stock price fell $18.22 per share, or 42.08%, to close

 at $25.08 per share on February 2, 2021.

        34.     As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

 in the market value of the Company’s securities, Plaintiff and other Class members have suffered

 significant losses and damages.

                       PLAINTIFF’S CLASS ACTION ALLEGATIONS

        35.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

 Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased or otherwise

 acquired Immunovant securities during the Class Period (the “Class”); and were damaged upon

 the revelation of the alleged corrective disclosures. Excluded from the Class are Defendants

 herein, the officers and directors of the Company, at all relevant times, members of their immediate

 families and their legal representatives, heirs, successors or assigns and any entity in which

 Defendants have or had a controlling interest.

        36.     The members of the Class are so numerous that joinder of all members is

 impracticable. Throughout the Class Period, Immunovant securities were actively traded on the




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 NASDAQ. While the exact number of Class members is unknown to Plaintiff at this time and can

 be ascertained only through appropriate discovery, Plaintiff believes that there are hundreds or

 thousands of members in the proposed Class. Record owners and other members of the Class may

 be identified from records maintained by Immunovant or its transfer agent and may be notified of

 the pendency of this action by mail, using the form of notice similar to that customarily used in

 securities class actions.

         37.       Plaintiff’s claims are typical of the claims of the members of the Class as all

 members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

 federal law that is complained of herein.

         38.       Plaintiff will fairly and adequately protect the interests of the members of the Class

 and has retained counsel competent and experienced in class and securities litigation. Plaintiff has

 no interests antagonistic to or in conflict with those of the Class.

         39.       Common questions of law and fact exist as to all members of the Class and

 predominate over any questions solely affecting individual members of the Class. Among the

 questions of law and fact common to the Class are:

                   whether the federal securities laws were violated by Defendants’ acts as alleged
                    herein;

                   whether statements made by Defendants to the investing public during the Class
                    Period misrepresented material facts about the business, operations and
                    management of Immunovant;

                   whether the Individual Defendants caused Immunovant to issue false and
                    misleading financial statements during the Class Period;

                   whether Defendants acted knowingly or recklessly in issuing false and misleading
                    financial statements;

                   whether the prices of Immunovant securities during the Class Period were
                    artificially inflated because of the Defendants’ conduct complained of herein; and



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                  whether the members of the Class have sustained damages and, if so, what is the
                   proper measure of damages.

        40.       A class action is superior to all other available methods for the fair and efficient

 adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

 damages suffered by individual Class members may be relatively small, the expense and burden

 of individual litigation make it impossible for members of the Class to individually redress the

 wrongs done to them. There will be no difficulty in the management of this action as a class action.

        41.       Plaintiff will rely, in part, upon the presumption of reliance established by the fraud-

 on-the-market doctrine in that:

                   Defendants made public misrepresentations or failed to disclose material facts
                    during the Class Period;

                   the omissions and misrepresentations were material;

                   Immunovant securities are traded in an efficient market;

                   the Company’s shares were liquid and traded with moderate to heavy volume
                    during the Class Period;

                   the Company traded on the NASDAQ and was covered by multiple analysts;

                   the misrepresentations and omissions alleged would tend to induce a reasonable
                    investor to misjudge the value of the Company’s securities; and

                   Plaintiff and members of the Class purchased, acquired and/or sold Immunovant
                    securities between the time the Defendants failed to disclose or misrepresented
                    material facts and the time the true facts were disclosed, without knowledge of
                    the omitted or misrepresented facts.

        42.       Based upon the foregoing, Plaintiff and the members of the Class are entitled to a

 presumption of reliance upon the integrity of the market.

        43.       Alternatively, Plaintiff and the members of the Class are entitled to the presumption

 of reliance established by the Supreme Court in Affiliated Ute Citizens of the State of Utah v.




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 United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as Defendants omitted material information in

 their Class Period statements in violation of a duty to disclose such information, as detailed above.

                                              COUNT I

  (Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated Thereunder
                                    Against All Defendants)

           44.   Plaintiff repeats and re-alleges each and every allegation contained above as if fully

 set forth herein.

           45.   This Count is asserted against Defendants and is based upon Section 10(b) of the

 Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.

           46.   During the Class Period, Defendants engaged in a plan, scheme, conspiracy and

 course of conduct, pursuant to which they knowingly or recklessly engaged in acts, transactions,

 practices and courses of business which operated as a fraud and deceit upon Plaintiff and the other

 members of the Class; made various untrue statements of material facts and omitted to state

 material facts necessary in order to make the statements made, in light of the circumstances under

 which they were made, not misleading; and employed devices, schemes and artifices to defraud in

 connection with the purchase and sale of securities. Such scheme was intended to, and, throughout

 the Class Period, did: (i) deceive the investing public, including Plaintiff and other Class members,

 as alleged herein; (ii) artificially inflate and maintain the market price of Immunovant securities;

 and (iii) cause Plaintiff and other members of the Class to purchase or otherwise acquire

 Immunovant securities and options at artificially inflated prices. In furtherance of this unlawful

 scheme, plan and course of conduct, Defendants, and each of them, took the actions set forth

 herein.

           47.   Pursuant to the above plan, scheme, conspiracy and course of conduct, each of the

 Defendants participated directly or indirectly in the preparation and/or issuance of the quarterly



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 and annual reports, SEC filings, press releases and other statements and documents described

 above, including statements made to securities analysts and the media that were designed to

 influence the market for Immunovant securities. Such reports, filings, releases and statements

 were materially false and misleading in that they failed to disclose material adverse information

 and misrepresented the truth about Immunovant’s finances and business prospects.

        48.      By virtue of their positions at Immunovant, Defendants had actual knowledge of

 the materially false and misleading statements and material omissions alleged herein and intended

 thereby to deceive Plaintiff and the other members of the Class, or, in the alternative, Defendants

 acted with reckless disregard for the truth in that they failed or refused to ascertain and disclose

 such facts as would reveal the materially false and misleading nature of the statements made,

 although such facts were readily available to Defendants. Said acts and omissions of Defendants

 were committed willfully or with reckless disregard for the truth. In addition, each Defendant

 knew or recklessly disregarded that material facts were being misrepresented or omitted as

 described above.

        49.     Information showing that Defendants acted knowingly or with reckless disregard

 for the truth is peculiarly within Defendants’ knowledge and control. As the senior managers

 and/or directors of Immunovant, the Individual Defendants had knowledge of the details of

 Immunovant’s internal affairs.

        50.     The Individual Defendants are liable both directly and indirectly for the wrongs

 complained of herein.     Because of their positions of control and authority, the Individual

 Defendants were able to and did, directly or indirectly, control the content of the statements of

 Immunovant. As officers and/or directors of a publicly-held company, the Individual Defendants

 had a duty to disseminate timely, accurate, and truthful information with respect to Immunovant’s




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 businesses, operations, future financial condition and future prospects.        As a result of the

 dissemination of the aforementioned false and misleading reports, releases and public statements,

 the market price of Immunovant securities was artificially inflated throughout the Class Period. In

 ignorance of the adverse facts concerning Immunovant’s business and financial condition which

 were concealed by Defendants, Plaintiff and the other members of the Class purchased or

 otherwise acquired Immunovant securities at artificially inflated prices and relied upon the price

 of the securities, the integrity of the market for the securities and/or upon statements disseminated

 by Defendants, and were damaged thereby.

        51.     During the Class Period, Immunovant securities were traded on an active and

 efficient market. Plaintiff and the other members of the Class, relying on the materially false and

 misleading statements described herein, which the Defendants made, issued or caused to be

 disseminated, or relying upon the integrity of the market, purchased or otherwise acquired shares

 of Immunovant securities at prices artificially inflated by Defendants’ wrongful conduct. Had

 Plaintiff and the other members of the Class known the truth, they would not have purchased or

 otherwise acquired said securities, or would not have purchased or otherwise acquired them at the

 inflated prices that were paid. At the time of the purchases and/or acquisitions by Plaintiff and the

 Class, the true value of Immunovant securities was substantially lower than the prices paid by

 Plaintiff and the other members of the Class. The market price of Immunovant securities declined

 sharply upon public disclosure of the facts alleged herein to the injury of Plaintiff and Class

 members.

        52.     By reason of the conduct alleged herein, Defendants knowingly or recklessly,

 directly or indirectly, have violated Section 10(b) of the Exchange Act and Rule 10b-5

 promulgated thereunder.




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           53.   As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the

 other members of the Class suffered damages in connection with their respective purchases,

 acquisitions and sales of the Company’s securities during the Class Period, upon the disclosure

 that the Company had been disseminating misrepresented financial statements to the investing

 public.

                                              COUNT II

     (Violations of Section 20(a) of the Exchange Act Against the Individual Defendants)

           54.   Plaintiff repeats and re-alleges each and every allegation contained in the foregoing

 paragraphs as if fully set forth herein.

           55.   During the Class Period, the Individual Defendants participated in the operation

 and management of Immunovant, and conducted and participated, directly and indirectly, in the

 conduct of Immunovant’s business affairs. Because of their senior positions, they knew the

 adverse non-public information about Immunovant’s misstatement of income and expenses and

 false financial statements.

           56.   As officers and/or directors of a publicly owned company, the Individual

 Defendants had a duty to disseminate accurate and truthful information with respect to

 Immunovant’s financial condition and results of operations, and to correct promptly any public

 statements issued by Immunovant which had become materially false or misleading.

           57.   Because of their positions of control and authority as senior officers, the Individual

 Defendants were able to, and did, control the contents of the various reports, press releases and

 public filings which Immunovant disseminated in the marketplace during the Class Period

 concerning Immunovant’s results of operations. Throughout the Class Period, the Individual

 Defendants exercised their power and authority to cause Immunovant to engage in the wrongful




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 acts complained of herein. The Individual Defendants, therefore, were “controlling persons” of

 Immunovant within the meaning of Section 20(a) of the Exchange Act. In this capacity, they

 participated in the unlawful conduct alleged which artificially inflated the market price of

 Immunovant securities.

        58.     Each of the Individual Defendants, therefore, acted as a controlling person of

 Immunovant.     By reason of their senior management positions and/or being directors of

 Immunovant, each of the Individual Defendants had the power to direct the actions of, and

 exercised the same to cause, Immunovant to engage in the unlawful acts and conduct complained

 of herein. Each of the Individual Defendants exercised control over the general operations of

 Immunovant and possessed the power to control the specific activities which comprise the primary

 violations about which Plaintiff and the other members of the Class complain.

        59.     By reason of the above conduct, the Individual Defendants are liable pursuant to

 Section 20(a) of the Exchange Act for the violations committed by Immunovant.


                                     PRAYER FOR RELIEF

 WHEREFORE, Plaintiff demands judgment against Defendants as follows:

        A.      Determining that the instant action may be maintained as a class action under Rule

 23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as the Class representative;

        B.      Requiring Defendants to pay damages sustained by Plaintiff and the Class by reason

 of the acts and transactions alleged herein;

        C.      Awarding Plaintiff and the other members of the Class prejudgment and post-

 judgment interest, as well as their reasonable attorneys’ fees, expert fees and other costs; and

        D.      Awarding such other and further relief as this Court may deem just and proper.




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                              DEMAND FOR TRIAL BY JURY

       Plaintiff hereby demands a trial by jury.

 Dated: February 19, 2021                               Respectfully submitted,

                                                        POMERANTZ LLP


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                                                  CERTIFICATION PURSUANT
                                                TO FEDERAL SECURITIES LAWS


                     1.        I, Theresa Pitman, make this declaration pursuant to Section 27(a)(2) of the Securities

            Act of 1933 (“Securities Act”) and/or Section 21D(a)(2) of the Securities Exchange Act of 1934

            (“Exchange Act”) as amended by the Private Securities Litigation Reform Act of 1995.

                     2.        I have reviewed a Complaint against Immunovant, Inc. f/k/a Health Sciences

            Acquisitions Corporation (“Immunovant” or the “Company”) and authorize the filing of a comparable

            complaint on my behalf.

                     3.        I did not purchase or acquire Immunovant securities at the direction of plaintiffs’ counsel

            or in order to participate in any private action arising under the Securities Act or Exchange Act.

                     4.        I am willing to serve as a representative party on behalf of a Class of investors who

            purchased or otherwise acquired Immunovant securities during the class period, including providing

            testimony at deposition and trial, if necessary. I understand that the Court has the authority to select the

            most adequate lead plaintiff in this action.

                     5.        To the best of my current knowledge, the attached sheet lists all of my transactions in

            Immunovant securities during the Class Period as specified in the Complaint.

                     6.        During the three-year period preceding the date on which this Certification is signed, I

            have not served or sought to serve as a representative party on behalf of a class under the federal

            securities laws.

                     7.        I agree not to accept any payment for serving as a representative party on behalf of the

            class as set forth in the Complaint, beyond my pro rata share of any recovery, except such reasonable

            costs and expenses directly relating to the representation of the class as ordered or approved by the Court.
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                     8.      I declare under penalty of perjury that the foregoing is true and correct.



                         February 5, 2021
            Executed _____________________________
                          (Date)



                                                               _______________________________________
                                                                      (Signature)


                                                                        Theresa Pitman
                                                               _______________________________________
                                                                      (Type or Print Name)
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                                           SUMMARY OF PURCHASES AND SALES



                    DATE                PURCHASE OR          NUMBER OF      PRICE PER SHARE
                                           SALE               SHARES

                  09/15/2020                Purchase             5               $38.57

                  10/12/2020                Purchase             1              $41.175
